           Case 1:22-cr-00080-CRC Document 30 Filed 11/10/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :         Case No. 1:22-cr-0080-EGS
                                         :
JOSHUA JOHNSON,                          :
    Defendant.                           :


                             MOTION FOR
                MODIFICATION OF CONDITIONS OF RELEASE

      Comes now Defendant Joshua Johnson, by and through counsel, to request

the entry of an Order modifying his conditions of release to vacate the condition of

home detention with location monitoring. (radio frequency) Instead, Mr. Johnson

proposes that the Court set a curfew restricting him to be in his home, daily, from

8:30 p.m. to 4:30 a.m..

      As grounds, the following is stated:

      1.       It is counsel’s understanding the government opposes this motion, per

AUSA Alexis Loeb.

      2.       On March 31, 2022, U.S. Magistrate Judge Zia M. Faruqui released

Mr. Johnson on conditions including restricted home detention with location

monitoring by radio frequency. See Doc. 19, Sec. 7(p)(ii) & (q)(iii). Trial of this

matter is scheduled for July 10, 2023.

      3.       Counsel has communicated with USPO Morgan Petty, Mr. Johnson’s

supervising pre-trial officer. She reports that Mr. Johnson is in full compliance with


                                             -1-
            Case 1:22-cr-00080-CRC Document 30 Filed 11/10/22 Page 2 of 3




all of his conditions of release.

       4.       Mr. Johnson is requesting a modification of his conditions of release to

vacate home detention with location monitoring (radio frequency) and asks the

Court to instead set a curfew restricting him to be in his home daily from 8:30 p.m.

to 4:30 a.m.

       5.       Mr. Johnson has and currently resides with his brother, Gage Johnson,

who is also his employer in the construction/home renovation business. The work

hours are typically 5:00 a.m. to 7:00 p.m, Monday through Friday. On Saturdays,

the work day begins at approximately 5:00 a.m, and sometimes (but not always)

ends in the early afternoon. The proposed curfew hours will allow Mr. Johnson to

opportunity to attend to personal matters on Saturday afternoons, e.g., light

shopping, haircuts, visits to a local pharmacy, etc. And, on Sundays, he would like

to be able to visit his young children who reside with their mother approximately 2

hours away.

       6..      Mr. Johnson understands and agrees that all other conditions of

release remain in full force and effect.

       WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, defendant Joshua Johnson requests the entry of an Order

modifying his conditions of release to vacate the condition of home detention with

location monitoring. (radio frequency) Instead, Mr. Johnson proposes that the Court

set a curfew restricting him to be in his home from 8:30 p.m. to 4:30 a.m. daily.



                                            -2-
       Case 1:22-cr-00080-CRC Document 30 Filed 11/10/22 Page 3 of 3




                                          Respectfully submitted,

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                                          Allen H.           by Allen H.
                                                             Orenberg
                                          Orenberg           Date: 2022.11.10
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                                          ___________________________
                                          Allen H. Orenberg, # 395519
                                          The Orenberg Law Firm, P.C.
                                          12505 Park Potomac Avenue, 6 th Floor
                                          Potomac, Maryland 20854
                                          Tel. No. (301) 984-8005
                                          Fax No. (301) 984-8008
                                          Cell-phone (301)-807-3847
                                          aorenberg@orenberglaw.com
                                          Counsel for Joshua Johnson




Dated: November 10, 2022




                                    -3-
